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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                            §
In re:                                                      § Chapter 11
                                                            §
LIMETREE BAY SERVICES, LLC, et al.,1                        § Case No. 21-32351 (DRJ)
                                                            §
                 Debtors.                                   § (Joint Administration Requested)
                                                            §

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         Please take notice that the undersigned is counsel for Limetree Bay Terminals, LLC,

Limetree Bay Terminal Holdings, LLC, Limetree Bay Terminal Holdings II, LLC, and Limetree

Bay Cayman, Ltd., in the above-referenced cases and hereby enter their appearance pursuant to

section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and request copies of all

notices and pleadings pursuant to Bankruptcy Rules 2002, 3017(a), 9007, and 9010. All such

notices should be addressed as follows:

                                   Timothy A. (“Tad”) Davidson II
                                   Joseph P. Rovira
                                   Ashley Harper
                                   Philip M. Guffy
                                   HUNTON ANDREWS KURTH LLP
                                   600 Travis Street, Suite 4200
                                   Houston, Texas 77002
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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
    Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
    Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is
    Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.


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        Please take further notice that, pursuant to section 1109(b) of the Bankruptcy Code, the

foregoing request includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, notices of any application, complaint,

demand, hearing, motion, petition, pleading or request, whether formal or informal, written or oral,

and whether transmitted or conveyed by mail, hand delivery, telephone, facsimile or otherwise filed or

made with regard to the referenced cases and the proceedings.



Dated: July 13, 2021                  Respectfully Submitted,
        Houston, Texas
                                      /s/ Timothy A. (“Tad”) Davidson II
                                      Timothy A. (“Tad”) Davidson II (TX Bar No. 24012503)
                                      Joseph P. Rovira (TX Bar No. 24066008)
                                      Ashley Harper (TX Bar No. 24065272)
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                                      Counsel for Limetree Bay Terminals, LLC, Limetree Bay
                                      Holdings, LLC, Limetree Bay Terminal Holdings II, LLC, and
                                      Limetree Bay Cayman, Ltd.


                                    CERTIFICATE OF SERVICE

        I certify that on July 13, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                                /s/ Timothy A. (“Tad”) Davidson II
                                                Timothy A. (“Tad”) Davidson II




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